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                           UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION


CORY MACIAS, SHAWN BURNSIDE,
TAYLOR BRADLEY, MARISSA WHITE,
AND SHANNON WISE, Individually and on
Behalf of all others Similarly Situated,

         Plaintiffs,

vs.                                                 Case No. _________________________
                                                    216(b) Collective Action
HQ MEN’S HAIRCUTS, LLC,
a Florida Limited Liability Company, and
NICOLETTE M LOSH, individually,

       Defendants.
______________________________/


                                         COMPLAINT

        COMES NOW, Plaintiffs, CORY MACIAS, SHAWN BURNSIDE, TAYLOR

BRARDLEY, MARISSA WHITE, and, SHANNON WISE and on behalf of all others (similarly

situated who consent to their inclusion in a collective action within the preceding three years of

this action, to and through the date of the final disposition of this action, (hereinafter

“Plaintiffs”), by and through the undersigned counsel, hereby sues Defendants, HQ MEN’S

HAIRCUTS, LLC (“HQ”) and NICOLETTE M LOSH (“LOSH”), (collectively hereinafter

“Defendants”), pursuant to 29 U.S.C. 216(b), of the Fair Labor Standards Act (the “FLSA”).

Violations of the Florida Private Whistleblower Act, Florida Statute 448.102 (“FWA”), breach of

Oral Contract, Unjust Enrichment and Quantum Meruit.           This is also an action based on

Plaintiffs state as follows:




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                                 GENERAL ALLEGATIONS

   1.    Plaintiff brings this action for violation of federal wage and hour laws by and on behalf

of all similarly situated current and firmer employees of Defendant.

   2.    This is an action by the Plaintiffs, and on behalf of all similarly situated current and

former employees of Defendants, for damages exceeding $30,000 excluding attorneys’ fees and

costs pursuant to violation of Florida Private Whistleblower Act Florida Statute 448.102

(“FWA”) This case is also a Breach of Oral Contract, Unjust Enrichment and Quantum Meruit.

   3.    Pursuant to national, common policy and plan, the Plaintiffs and class of similarly

situated current and former employees have been given the titles of “Barber.” The Plaintiffs and

the class of similarly situated employees were unlawfully not compensated at a rate of one and

one half their regular rate of pay for their overtime hours, and either treated as EXEMPT under

the FLSA, or simply just willfully never paid for their overtime hours.

   4.    Defendant did not track or record all the hours these employees worked during their

term of employment; and alternatively, if later Defendants used any sort of time sheets in any of

defendant’s locations, it will be shown that Defendants willfully prohibited employees from

recording overtime hours.

   5.    Defendants have improperly and willfully classified all of its barbers as exempt from

overtime wage provisions of the FHSA without a good faith basis.

   6.    Furthermore, Defendant knew or should have known that these employee barbers fail

the test for exempt employees and that their primary job duties are non-exempt duties and they

are not independent contractors nor should have been paid in any exempt manner.

   7.    Defendants knew and should have known that these employees did not fit into any

administrative exemption as t heir primary jobs do not involve the use of discretion and



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independent judgment in matters of significance affecting the company and its management and

their primary job duty is sales and service, typically non-exempt under the FLSA.

    8.    Defendants’ customer generation and management system did not allow clients to rely

on their own contacts and sources to generate business and sales though many did have their own

customers. Defendants required Plaintiffs to turn over access to leads and contact information to

Defendant who restricted access and controlled all aspects of these relationships.

    9.    Defendants’ were aware that Plaintiffs had worked overtime hours and Defendants

failed to pay Plaintiffs and all similarly situated employees in accordance with the Fair Labor

Standards Act (“FLSA”). Specifically, Plaintiffs and similarly situated employees were not paid

time and a half of their regularly rate of pay for all hours worked in excess of forty (40) hours per

week, nor paid any premium for the overtime hours worked. Plaintiffs and the class of similarly

situated employees did not and currently do not perform work that meets the definition of any

exemption under the FLSA, and the Defendant’s pay practice are not only clearly unlawful, but

UNFAIR as well.

    10.   In this pleading, “Defendant” means the named Defendant and any other subsidiary or

affiliated and wholly owned corporation, organization or entity responsible for the employment

practices complained of herein (discovery may reveal additional Defendants that should be

included).

    11.   The allegations in this pleading are made without any admission that, as to any

particular allegation, Plaintiffs bear the burden of pleading, proof, or persuasion. Plaintiff

reserves all rights to plead in the alternative.




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                                JURISDICTION AND VENUE

    12.   This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §1331,

because this action involves a federal questions under the Fair Labor Standards Act (“FLSA”),

29 U.S.C. § 216 (b).

    13.   This Court is empowered to issue a declaratory judgment under 28 U.S.C.§§ 2201 and

2202.

    14.   This Court has personal jurisdiction over this action, because the Defendant operates

substantial business in Ft. Myers, Lee County, Florida and a substantial amount of the damages

at issue occurred in Lee County, Florida.

    15.   Venue is proper to this Court pursuant to 28 U.S.C. Sec. 1391(b) because the parties

reside in this district and because a substantial part of the events giving rise to the claims

occurred in this District.

    16.   Defendant HQ MEN’S HAIRCUTS LLC is an employer within the meaning of 29

U.S.C. § 203(d).

    17.   The Defendant has, at all relevant times herein, grossed more than $500,000.00 in

operating revenues during each of the last 3 years.

    18.   The overtime wage provisions set forth in FLSA § 207 apply to Defendants, as all

Defendants collectively engage in interstate commerce under the definition of the FLSA. Indeed,

at all relevant times, Defendants engaged in interstate commerce and/or in the production of

goods for commerce within the meaning of FLSA § 203 as a common business enterprise.




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                                        THE PARTIES

                          The representative Plaintiff, CORY MACIAS

    19.   CORY MACIAS resided in Fort Myers, Florida. She worked for Defendants from

October of 2012 through May of 2022 as a Barber and Manager of Defendant’s business.

    20.   When initially hired, she was promised part ownership of the business. She invested

extensive time and efforts into developing the sight using materials and work from her father, a

contractor. These actions were done in furtherance of the agreed business partnership interest.

    21.   Plaintiff Macias was an employee of Defendants during this time as contemplated by 29

U.S.C. § 203.

    22.   Furthermore, Plaintiff MACIAS is listed as a tenant on the lease and was locked out of

the location by Defendants in violation of the lease. The landlord was Ray Mascino and will

testify to the contents of the lease.

    23.   Macias primary job duty was that of a barber but she was also required to open the

store, close the store and deal with the bookkeeping, scheduling, payments from clients and all

other aspects of running the business as a manager, managing all other employees.

    24.   There was a common pay plan which is attached hereto as Exhibit A, which all

employees were required to abide by. Plaintiff Macias also worked well over 40 hours per week.

    25. While employed, Plaintiff Macias repeatedly informed Defendants that their labor

practices were illegal. Plaintiff complained that the employees should not be paid as 1099

independent contractors.

    26. Defendant kept all customer contract information in an online application wherein none

of the employees had access and were blocked from knowing or communicating with the

customers.



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   27. Immediately prior to and contemporaneously in time, prior to Plaintiff Macias being

constructively terminated, Macias had a phone call with Defendant Nicolette. Plaintiff reiterated

that Defendant Nicolette’s behavior was illegal and that the IRS and DOL were calling on the

phone asking for information. Plaintiff Macias complained to Nicolette that her PPP loan funds

were illegally appropriate and not used for salaries as Nicolette used them for upgrades to her

home in Orlando.

   28. Furthermore, Plaintiff Macias informed Nicolette about the phone calls from the Federal

Government Representatives. Nicolette ordered Plaintiff Macias not to discuss the business with

the Federal Government’s representatives and Plaintiff Macias refused as she was aware and

communicated to Nicolette that refusing to cooperate with the government in an investigation of

this sort would be illegal and criminal.

   29. Plaintiff Macias was forced to resign from employment as she could not follow the

orders of Nicolette about not cooperating with Federal investigators and/or continue to

participate in a situation where employees were being illegally misclassified.

   30. Additionally, Plaintiff Macias learned that Defendants were engaged in a tip/wage theft

scheme where Defendants would keep and/or underpay tips to employees. Plaintiff Macias

learned that she was illegally absconded of at least $4,400.00 in tips and that may other

employees were kept from their earnings/wages in the same manner. Interestingly, Plaintiff

Macias also learned that Nicolette was claiming to have paid these monies to the employees and

taking deductions for same but pocketing the monies.

   31. Defendants retaliated against Plaintiff Macias as over the last few years while Plaintiff

Macias had complained of the illegal behaviors, Defendant began withholding those monies as a

punishment for Plaintiff’s complaints of illegal behavior.



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                                            DEFENDANTS

    32. Defendant HQ MEN’S HAIRCUTS, LLC is a Florida Limited Liability Company

having its main place of business in Fort Myers, Florida, and Plaintiffs worked for Defendant in

Fort Myers, Florida as a managers and employees, respectively, and at all times material hereto

was and is engaged in interstate commerce.              Defendant has sufficient ties to Florida as it

maintains employees in Florida and paid Plaintiff in Florida.

    33. Defendant HQ MEN’S HAIRCUTS, LLC is a covered employer for purposes of the

FLSA and the FWA.

    34. Defendant NICOLETTE M LOSH is an individual officer of the Defendant Corporation

HQ MEN’S HAIRCUTS, LLC and has operational control over Defendant as it pertains to

Plaintiffs’ claims in this case.

    35. Declaratory, injunctive, legal and equitable relief sought pursuant to the laws set forth

above together with attorneys’ fees, costs and damages.

    36. All conditions precedent for the filing of this action before this Court have been

previously met, including the exhaustion of all pertinent administrative procedures and remedies.

    37. Defendant employed, though illegally misclassified these employees, more than 10 individuals

over the last year of operation, subjecting Defendant to jurisdiction pursuant to the FWA.

                      FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

    38. This collective action arises from an ongoing wrongful scheme by Defendant to: a)

willfully misclassify, b) willfully underpay, and/or c) willfully refuse to pay overtime wages to

Barbers who Defendant know or should have known, do not satisfy any of the FLSA

exemptions.

    39. Plaintiffs performed work for Defendants as barbers in their Fort Myers store in Lee

County, Florida During 2019, 2020, 2021 and 2022.

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   40. Based on information and belief, Defendant earned a gross of over $500,000.00 over

each year for the last three years. These amounts include but are not limited to the gross

amounts of payments from customers, tips received from all barbers, sales of products.

Plaintiff’s believe the amount may be much higher but that Defendants may have underreported

income.

   41. Furthermore, Defendant regularly received shipments of products and supplies using

instrumentalities of interstate commerce for shipping and receiving, weekly, for many years.

Many of these products were produced outside of Florida. These products were used by all

plaintiffs and others for customers of Defendants.

   42. Additionally, Defendants took payment from individuals visiting from out of state and

these payments were made by various means from bank accounts located out side of the State of

Florida. These actions qualify Defendant as an employer regularly and purposefully using

modalities of interstate commerce for purposes of the FLSA. Defendant’s yelp reviews show

customers from out of state such as Natasha L from Bayonne, NJ. Another out of state customer

is Evan S from New York who was in town for a wedding.

   43. From online sources we learn that Martin V. from Texas writes: “Right up front, in the

waiting area, is a couple of nice TVs with a Super Nintendo and a Sega Genesis emulator hooked

up to them so you can play some old school video games while you wait. Or if that's not your

speed (or the games are taken by people who showed up early) there's a beautiful pool table open

in the back. To top it off they offer you free beer before and during your appointment.”

   44. Defendants do all of their online booking through Vagaro, a Dublin, California booking

company that supports their website and online systems. Defendants regularly and purposefully

uses both Yelp, a San Francisco, California online marketing and review company as well as



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Google for their website, another California Company solidifying their position as a qualified

employer using instrumentalities of interstate commerce for marketing and attracting customers.

   45. Defendants did not track or record all the hours the barbers or barbers that were acting as

managers of the store were working during the terms of their employments.

   46. Defendants micro managed all aspects of the Barbers and Managers workdays,

specifying that the manager had to open and close the store and set the hours of the employees.

The instruments used as were purchased and maintained by the employer. Employees were

required to turn over their customers names and contact information to Defendants who

maintained control of this information. Defendant purchased and owned the chairs, refrigerators,

cash registers, product used for customers, cleaning supplies, venue for providing services.

Employees may have had their own scissors and a few other instruments that they personally

used for their work.

   47. Defendants specified the hours that employees worked and their scheduled times.

Employees were not allowed to leave work unless the drawer was counted and correct and the

shop was cleaned. Employees were required to stay after hours for “meetings” scheduled by

Defendants and these meetings were without compensation and unpaid.

   48. Defendant trained their employees on how to do the work. All employees had to do the

work the same way and even some services advertised by Defendants were advertised to be done

in a certain way which all employees were required to follow.

   49. Employees were required to wear clothing items with the HQ logo every day.

   50. Employees were not allowed to sit in the back room unless on their predesignated lunch

break as outlined by Defendants.




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   51. If an employee had to miss work, they were required to get coverage and/or suffer

consequences and threats such as termination.

   52. All pricing and discounting was determined by the Employer and Employees had no

control over the pricing for their work.

   53. Employees were required to arrive at work 15 minutes prior to their shift beginning and

this time was unpaid.

   54. Employees were required to sign a cleaning list at the end of the day noting that they

performed the cleaning tasks required by Defendants and were not permitted to leave until this

task was accomplished.

   55. Defendants classified Plaintiffs as 1099 independent contractors, however, they were not

independent contractors at all. Defendants had almost absolute control over the employees work

specifying when and where they could work, how they did their job, when they were to come

and go as well as how they are paid. In fact, Defendants grossly underpaid Plaintiffs and

improperly and willfully classified them as independent contractors when they were in fact

Employees required to perform tasks outside being barbers which include cleaning the shop. See

Exhibit A which defendant used a similar method for all plaintiffs as the employer requiring and

detailing the conditions of employment. Defendants also promised pay pursuant to Exhibit B

which was not provided.

   56. As is described in Exhibit B, 5 open to close shifts were required per week. Defendant

HQ was open weekdays from 10 am to 7 pm, 9 full hours and employees were required to arrive

early and stay late without pay. They were open 8 hours on Saturdays and 6 hours on Sundays.

   57. Defendant knew or should have known that these barbers and manager(s) were not 1099

independent contractors but actual W2 non-exempt employees.



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   58. Defendant was aware that these employees were entitled to overtime when those hours

were worked and that they should have been provided an hourly wage as well as other benefits

which Defendants avoided by misclassifying these employees.

   59. Alternatively, Defendant agreed to pay Plaintiffs based on various oral contracts for their

services.

   60. Defendant received payment from customers for the services provided by Plaintiffs.

   61. Defendant agreed to pay various percentages of the funds received by customers to

Plaintiffs based on oral representations which will be more fully understood through discovery.

Defendant retained funds provided by customers without paying Plaintiffs what was promised.

   62. Additionally, Defendant applied for PPP loan in May of 2020 which was given at

$26,439.00 claiming paycheck protection and 4 employees sat the time. The loan was provided

by Wells Fargo Bank. Plaintiff Macias was made aware that the proceeds were used for a home

improvement project and not used for payroll. This is also illegal because all employees were

misclassified as 1099 independent contractors and there was no actual payroll. Plaintiff Macias

complained to Defendants of their illegal behavior.

   63. Defendants have over 8 barber chairs in their establishment and advertise free beer, in

fact, they offered imports which the employees regularly provided to customers.

   64. Defendant has willfully failed to pay Plaintiffs and all similarly situated employees in

accordance with the Fair Labor Standards Act (“FLSA”). Specifically, Plaintiffs and similarly

situated employees were not paid time and a half of their regular rate pay for all hours worked in

excess of forty (40) hours per week, nor paid any premium for the overtime hours worked with

respect to those employees that worked overtime hours. Plaintiffs and the class of similarly

situated employees did not and currently do not perform work that meets the definition of any



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exemption under the FLSA, and the Defendant’s pay practice are not only clearly unlawful, but

UNFAIR as well.

   65. Plaintiff Macias worked a minimum of approximately 55 hours per week on average.

   66. Upon review of the books and payroll, Plaintiffs discovered gross underpayments and

that thousands of dollars accounted for as being paid to Plaintiffs had actually not been paid and

were stolen by Defendants, just like the PPP funds. Discovery will reveal what is owed to

Plaintiffs and remains unpaid after a forensic audit of HQ’s books is completed.

   67. Shortly before Macias was constructively terminated in May of 2022, She began

receiving calls form the IRS and Department of Labor. Macias spoke to Defendants about this

issue and made it clear to defendant that Defendant was illegally misclassifying plaintiffs and

that there would be consequences. This applied to employees that had worked and been

terminated as well as the future employees and the ones currently working for Defendant.

   68. Defendant instructed Macias and all employees not to speak to the IRS or Department of

Labor. Defendant required Plaintiffs to continue to break the law and demanded that they not

comply with Federal investigations.

   69. Plaintiff Macias and others were constructively terminated as they were required to quit

in order not to break the law as was demanded by Defendants.

   70. Plaintiff Macias is able to protect and represent the Collective or putative Class, and is

willing and able and consents to do so. Plaintiff’s consents to be party plaintiffs are attached

hereto as Exhibit C.

   71. Plaintiff Macias is a proper Class Representative as she worked for Defendants from

before the time period involved in this complaint and is familiar with the jog duties and




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responsibilities as well as the work conditions of all employees while she was working for

Defendants.

       72. Plaintiffs allege for themselves, and on behalf of the class wo elect to opt-in to this action

that they are entitled to unpaid wages and unpaid overtime pay from defendant for hours worked.

       73. Defendant employed well over 10 employees during the alleged time period this

complaint covers.

       74. Based on the above, Defendants have unjustly enriched themselves at the expense of

Plaintiffs. Including receiving free labor and construction parts from Plaintiff Macias and her

father in order to upgrade the store in 2019, these services were provided based on promises of

ownership which constitute the oral contract that Defendant breached.

       75. All Plaintiffs and class members were illegally misinformed by Defendants that they

were not entitled to overtime wages and/or regular pay for the periods in question.

       76. Defendants maintained a company policy of willfully refusing to pay Plaintiffs proper

wages or for overtime hours and has knowledge of the hours worked though Defendant’s failed

to keep records of same.

       77. At all times material hereto, Plaintiff and Defendants were engaged in an implied

agreement that Plaintiff would be employed by Defendants and that Plaintiff would be properly

paid as provided for by and not in violation of the laws of the United States and the State of

Florida.

       78. Plaintiff has retained the undersigned counsel in order that his rights and interests may be

protected. The Plaintiff has thus become obligated to pay the undersigned a reasonable attorney’s

fee.




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                                          COUNT I
                       Wage & Hour Federal Statutory Violation Against HQ

79.      Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1 through 78

         of this complaint as if set out in full herein.

80.      Plaintiffs bring this suit individually, and on behalf of all similarly situated persons

         composed of the following Class members:

         A. All employees working as or managers, who are currently employed or were
         previously employed with HQ MEN’S HAIRCUTS, LLC within the U.S. and its
         territories, within the past three years preceding the filing of this lawsuit.

      81. This action is brought by Plaintiffs to recover from Defendants unpaid wages and other

benefits they should have received by being misclassified, as well as an additional amount as

liquidated damages, costs, and reasonable attorney’s fees under the provisions of 29 U.S.C. §

201 et seq.

      82. Jurisdiction is conferred on this Court by Title 29 U.S.C. § 216(b).

      83. At all times pertinent to this Complaint, constantly, repeatedly and over many years,

Defendant operated as an organization which sells and/or markets its services and/or goods to

customers from throughout the United States and also provides its services for goods sold and

transported from across state lines of other states, and the Defendant obtains and solicits funds,

products and customers from non-Florida sources, accepts funds from non-Florida sources, uses

telephonic transmissions going over state lines to do its business, transmits funds outside the

State of Florida, and otherwise regularly engages in interstate commerce, particularly with

respect to its employees.

      84. Upon information and belief, the annual gross revenue of the Defendant was at all times

material hereto in excess of $500,000 per annum, and, by virtue of working in interstate

commerce, otherwise satisfies the FLSA’s coverage requirements.

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   85. By reason of the foregoing, the Defendant is and was, during all times hereafter

mentioned, an enterprise engaged in commerce or in the production of goods for commerce as

defined in §§ 3 (r) and 3(s) of the FLSA, 29 U.S.C. § 203(r) and 203(s). Defendant’s business

activities involve those to which the Fair Labor Standards Act applies. The Plaintiffs’ work for

the Defendant likewise affects interstate commerce.

   86. Plaintiff seeks to recover for unpaid wages accumulated from the date of hire and/or

from 3 (three) years from the date of the filing of this complaint.

   87. At all times material hereto, the Defendant failed to comply with Title 29 U.S.C. §§ 201-

219 and 29 C.F.R. § 516.2 and § 516.4 et seq. in that Plaintiff performed services and worked in

excess of the maximum hours provided by the FLSA but no provision was made by the

Defendant to properly pay him at the rate of time and one half for all hours worked in excess of

forty hours (40) per workweek as provided in the FLSA.

   88. Defendant knew and/or showed reckless disregard of the provisions of the FLSA

concerning the payment of regular and overtime wages as required by the Fair Labor Standards

Act and remain owing Plaintiff these overtime wages since the commencement of Plaintiff’s

employment with Defendant as set forth above. As such, Plaintiff is entitled to recover double

damages.

   89. Defendant has willfully failed to pay Plaintiffs and all similarly situated employees in

accordance with the Fair Labor Standards Act (“FLSA”).

   90. Defendant never posted any notice, as required by the Fair Labor Standards Act and

Federal Law, to inform employees of their federal rights to overtime and minimum wage

payments.

WHEREFORE, Plaintiffs respectfully prays for the following relief against Defendant:



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        A. Adjudge and decree that Defendant has violated the FLSA and has done so willfully,

            intentionally and with reckless disregard for Plaintiff’s rights;

        B. Award Plaintiff actual damages in the amount shown to be due for unpaid wages and

            overtime compensation for hours worked in excess of forty (40) weekly, with interest;

            and

        C. Award Plaintiff an equal amount in double damages/liquidated damages; and

        D. Enter an award against Defendant and award Plaintiff compensatory damages for

            mental anguish, personal suffering, and loss of enjoyment of life;

        E. Require Defendant to reinstate Plaintiff to her position at the rate of pay and with the

            full benefits she would have, had she not been discriminated against by Defendant, or

            in lieu of reinstatement, award her front pay;

        F. Award Plaintiff the costs of this action, together with a reasonable attorneys' fees;

            and

        G. Grant Plaintiff such additional relief as the Court deems just and proper under the

            circumstances.

                                        COUNT II
                        Wage & Hour Federal Statutory Violation Against
                                          LOSH

    91. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1 through 78

of this complaint as if set out in full herein.

    92. At the times mentioned, Defendant was, and is now, a corporate officer of corporate

Defendant, HQ.

    93. Defendant was an employer of Plaintiff within the meaning of Section 3(d) of the “Fair

Labor Standards Act” [29 U.S.C. § 203(d)], in that this individual Defendant acted directly in the



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interests of Defendant employer in relation to the employees of Defendant employer, including

Plaintiff.

    94. Defendant had operational control of the business and is thus jointly liable for Plaintiff’s

damages.

    95. Defendant willfully and intentionally refused to properly pay Plaintiff(s) overtime wages

as required by the law of the United States as set forth above and remains owing Plaintiff these

overtime wages since the commencement of Plaintiff’s employment with Defendant as set forth

above.

    96. Defendant intentionally misclassified Plaintiffs as independent contractors in violation of

the FLSA and intentionally failed to inform Plaintiff’s of their rights to wages, overtime wages

and to have Medicare, Social Security and Payroll taxes paid by the employer.

WHEREFORE, Plaintiffs respectfully prays for the following relief against Defendant:

         H. Adjudge and decree that Defendant has violated the FLSA and has done so willfully,

             intentionally and with reckless disregard for Plaintiff’s rights;

         I. Award Plaintiff actual damages in the amount shown to be due for unpaid wages and

             overtime compensation for hours worked in excess of forty (40) weekly, with interest;

             and

         J. Award Plaintiff an equal amount in double damages/liquidated damages; and

         K. Enter an award against Defendant and award Plaintiff compensatory damages for

             mental anguish, personal suffering, and loss of enjoyment of life;

         L. Require Defendant to reinstate Plaintiff to her position at the rate of pay and with the

             full benefits she would have, had she not been discriminated against by Defendant, or

             in lieu of reinstatement, award her front pay;



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        M. Award Plaintiff the costs of this action, together with a reasonable attorneys' fees;

             and

        N. Grant Plaintiff such additional relief as the Court deems just and proper under the

             circumstances.

                                            COUNT III
                                      FLSA Retaliation against HQ

    97. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1 through 78

of this complaint as if set out in full herein.

    98. 29 U.S.C. § 215(a)(3) of the FLSA states that it is a violation to “discharge or in any

other manner discriminate against any employee because such employee has filed any complaint

or instituted or caused to be instituted any proceeding under or related to this Act, or has testified

or is about to testify in any such proceeding, or has served or is about to serve on an industry

committee.”

    99. Defendant’s conduct as set forth above constitutes a violation of the FLSA’s anti-

retaliation provision.

    100.           The motivating factor that caused Plaintiff’s adverse employment action as

described above was Plaintiff’s complaint regarding not being properly paid for all hours

worked.

    101.           The Defendant’s conduct was in direct violation of the FLSA, and, as a direct

result, Plaintiff has been damaged.

WHEREFORE, Plaintiff respectfully prays for the following relief against Defendant:

        H.         Adjudge and decree that Defendant has violated the FLSA and has done so

                   willfully, intentionally and with reckless disregard for Plaintiff rights;

        I.         Award Plaintiff actual damages in the amount shown to be due for unpaid wages,

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               with interest; and

       J.      Award Plaintiff an equal amount in double damages/liquidated damages; and

       K.      Award Plaintiff the costs of this action, together with reasonable attorneys' fees;

               and

       L.      Grant Plaintiff such additional relief as the Court deems just and proper.

                                          COUNT IV
                            FLSA Retaliation Violation Against LOSH

   102.        Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1

through 78 of this Complaint as if set out in full herein.

   103.        29 U.S.C. § 215(a)(3) of the FLSA states that it is a violation to “discharge or in

any other manner discriminate against any employee because such employee has filed any

complaint or instituted or caused to be instituted any proceeding under or related to this Act, or

has testified or is about to testify in any such proceeding, or has served or is about to serve on an

industry committee.”

   104.        Defendant’s conduct as set forth above constitutes a violation of the FLSA’s anti-

retaliation provision.

   105.        The motivating factor that caused Plaintiff’s adverse employment action as

described above was Plaintiff’s complaint regarding not being properly paid for all hours

worked.

   106.        The Defendant’s conduct was in direct violation of the FLSA, and, as a direct

result, Plaintiff has been damaged.

WHEREFORE, Plaintiff respectfully prays for the following relief against Defendant:

       T.      Adjudge and decree that Defendant has violated the FLSA and has done so

            willfully, intentionally and with reckless disregard for Plaintiff’s rights;

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       U.      Enter judgment against the Defendant for all back wages from the date of

       discharge to the present date and an equal amount of back wages as liquidated damages,

       and;

       V.      Enter judgment against the Defendant for all front wages until Plaintiffs become

       65 years of age; and

       W.      Enter an award against Defendant and award Plaintiff compensatory damages for

       mental anguish, personal suffering, and loss of enjoyment of life;

       X.      Award Plaintiff the costs of this action, together with reasonable attorneys' fees;

       and

       Y.      Grant Plaintiff such additional relief as the Court deems just and proper under the

       circumstances.

                                      COUNT V
 Breach of Agreement Against Defendant HQ MEN’S HAIRCUTS, LLC (In The Alternative)

107.   Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1 through 78

       of this complaint as if set out in full herein.

108.   Defendant breached its agreement with Plaintiff by failing to pay the amount due to

       Plaintiff for services provided and performed under their agreement, and by not properly

       paying Plaintiff for all hours worked in violation of the laws of the United States and the

       State of Florida.

109.   Plaintiff suffered damages as a result of Defendants’ breach of said agreement.

       WHEREFORE, Plaintiff seeks damages from Defendants for breach of agreement,

exclusive of pre-judgment interest, costs, and attorneys’ fees and any and all other relief that this

Honorable Court deems just and proper.

                                             COUNT VI

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       Quantum Meruit Against Against Defendant HQ MEN’S HAIRCUTS, LLC (In The
                                       Alternative)

110.    Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1 through 78

        of this complaint as if set out in full herein.

111.    Plaintiff has conferred a benefit onto Defendants by performing and providing services

        for Defendant.

112.    Defendants have knowledge of the services performed and provided and the benefit

        provided by Plaintiff.

113.    Defendants accepted Plaintiff’s services to Defendants.

114.    Defendants retain an inequitable benefit from Plaintiff by not properly paying Plaintiff

        for all hours worked in violation of the laws of the United States and the State of Florida.

115.    Plaintiff seeks damages under quantum meruit that are the reasonable value of the

        services rendered to, provided to, and performed for Defendants.

        WHEREFORE, Plaintiff seeks a judgment under quantum meruit for damages for the

reasonable value of the services performed and provided for Defendants, interest and costs, and

other damages deemed just by this Honorable Court.

                                      COUNT VII
    Unjust Enrichment Against Against Defendant HQ MEN’S HAIRCUTS, LLC (In The
                                      Alternative)

116.    Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1 through 78

        of this complaint as if set out in full herein.

117.    Plaintiff has conferred a benefit upon Defendants for services performed and provided to

        Defendants.

118.    Defendants have knowledge of the services performed and provided by Plaintiff.

119.    Defendants voluntarily accepted the services performed and provided by Plaintiff.

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120.   Defendants unjustly benefit from the services performed and provided by Plaintiff by not

       properly paying Plaintiff for all hours worked in violation of the laws of the United States

       and the State of Florida.

121.   Plaintiff seeks damages for the value of the work performed to Defendants.

       WHEREFORE, Plaintiff seeks a judgment for unjust enrichment against Defendants,

interest and costs, and other damages deemed just by this Honorable Court.

                                     COUNT VIII
                      VIOLATION OF §448.102, FLORIDA STATUTES
                          Against HQ MEN’S HAIRCUTS, LLC

   122.        Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1

through 78 of this complaint as if set out in full herein.

       123.    Section 448.102, Florida Statutes states in relevant part:

               “An employer may not take any retaliatory personnel action against an
               employee because the employee has:

               (3) Objected to, or refused to participate in, any activity, policy, or
               practice of the employer which is in violation of a law, rule, or
               regulation.”

   124.        As a direct and proximate result of Plaintiff’s refusal to participate in Federal

Investigations of Defendant, remain misclassified and remain unpaid illegally in violation of the

FLSA and with respect to complaints therefrom, Plaintiffs employment was constructively

terminated.

   125.        As a result of Defendants’ willful and malicious conduct, and Plaintiff’s

termination for refusing about violations of law, rule and regulation, Plaintiffs have experienced

and will continue to experience significant financial and economic loss in the form of lost wages

and lost benefits. Plaintiff has also experienced and will continue to experience emotional

anguish, pain and suffering and loss of dignity damages. Plaintiff accordingly demands lost

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economic damages in the form of back pay and front pay, compensation for his lost benefits, as

well as compensatory damages.

    126.        Plaintiff also demands her attorney’s fees and costs as provided by law.

       WHEREFORE, Plaintiff prays for the entry of a judgment against Defendant and an

award of economic damages in the form of back pay and front pay, as well as compensatory

damages, attorney’s fees and costs as a result of Defendant’s retaliatory conduct in violation of

§448.101 et seq., Florida Statutes, and any and all other relief provided by law.

                                          JURY DEMAND

Plaintiff demands trial by jury of all issues triable as of right by jury.

        Date: July 9, 2022                                      Respectfully submitted,
                                                                /s/ Daniel H. Hunt
                                                                DANEIL H. HUNT, ESQ.
                                                                Florida Bar No. 121247
                                                                P.O. BOX 565096
                                                                MIAMI, FL 33256
                                                                dhuntlaw@gmail.com
                                                                Phone: 305-495-5593
                                                                Fax:    305-513-5723




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       EXHIBIT A



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                              Pay Scale
                                Base pay 45%


    Bi-Weekly Pay          Weekly      Clients/wk     Daily      Clients/day
                                       ($25/client)   (5 days)   ($25/client)

    $800+ = 50%            $400+       20-50          $80+       4-10

    $2,400+ = 52%          $1,200+     50-65          $240+      10-13

    $3,200+ = 55%          $1,600+     65-80          $320+      13-16

    $4,000+ = 60%          $2,000+     80+            $400+      16+
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       EXHIBIT B




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       EXHIBIT C



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         NOTICE OF CONSENT TO BE A PARTY PLAINTIFF AND/OR JOIN

      COREY MACIAS
I, _____________________________, hereby consent, in accordance with 29 U.S.C. §216(b) of

the Fair Labor Standards Act, to become a party plaintiff in this action against my employer,

______________________________,
     HQ MEN'S HAIRCUTS, LLC.
                                and to be represented by the attorneys of Daniel H.

Hunt, Esq. P.O. Box 565096, Miami, FL 33256, dhuntlaw@gmail.com.




              Corey Macias                                       6/7/2022
Sign Name: _________________________________
             ID 36xoxYPLMdCURhhNRoHBf3UB
                                                         Date: ____________________



                  CORY MACIAS
Print Name: _________________________________
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         NOTICE OF CONSENT TO BE A PARTY PLAINTIFF AND/OR JOIN


I, _____________________________,
      TAYLOR BRADLEY              hereby consent, in accordance with 29 U.S.C. §216(b) of

the Fair Labor Standards Act, to become a party plaintiff in this action against my employer,

______________________________,
     HQ MEN'S HAIRCUTS, LLC.    and to be represented by the attorneys of Daniel H.

Hunt, Esq. P.O. Box 565096, Miami, FL 33256, dhuntlaw@gmail.com.




                Taylor Bradley
                                                                 6/7/2022
Sign Name: _________________________________             Date: ____________________
               ID UPbFUkbgCLshzGf4BbqBuAdk




Print Name: _________________________________
                 TAYLOR BRADLEY
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                                                                                   Page 5 of 11




            NOTICE OF CONSENT TO BE A PARTY PLAINTIFF AND/OR JOIN


I, _____________________________, hereby consent, in accordance with 29 U.S.C. §216(b) of
    ID QP2zcuK8dws4PEDqJPDwwU8t


the Fair Labor Standards Act, to become a party plaintiff in this action against my employer,

______________________________,
     HQ MEN'S HAIRCUTS, LLC.
                                and to be represented by the attorneys of Daniel H.

Hunt, Esq. P.O. Box 565096, Miami, FL 33256, dhuntlaw@gmail.com.




                                                                 6/7/2022
Sign Name: _________________________________
               ID QP2zcuK8dws4PEDqJPDwwU8t               Date: ____________________




                         MARISSA WHITE
Print Name: _________________________________
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                                                                                   Page 5 of 11




         NOTICE OF CONSENT TO BE A PARTY PLAINTIFF AND/OR JOIN

      Shannonwise
I, _____________________________,
      ID RvAAL2hcZcTS9xVF6icYqLyi hereby consent, in accordance with 29 U.S.C. §216(b) of

the Fair Labor Standards Act, to become a party plaintiff in this action against my employer,
 HQ MEN'S HAIRCUTS, LLC.
______________________________, and to be represented by the attorneys of Daniel H.

Hunt, Esq. P.O. Box 565096, Miami, FL 33256, dhuntlaw@gmail.com.




                 Shannonwise
                ID RvAAL2hcZcTS9xVF6icYqLyi
Sign Name: _________________________________             Date: ____________________
                                                                  6/8/2022




                SHANNON WISE
Print Name: _________________________________




                                                                                     Sw
                                                                                    ID RvAAL2hcZcTS9xVF6icYqLyi
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                                                                                       Page 5 of 11




         NOTICE OF CONSENT TO BE A PARTY PLAINTIFF AND/OR JOIN

        Shawn Burnside
I, _____________________________, hereby consent, in accordance with 29 U.S.C. §216(b) of

the Fair Labor Standards Act, to become a party plaintiff in this action against my employer,
     HQ MEN'S HAIRCUTS, LLC
______________________________, and to be represented by the attorneys of Daniel H.

Hunt, Esq. P.O. Box 565096, Miami, FL 33256, dhuntlaw@gmail.com.




                                                                6/9/2022
Sign Name: _________________________________
             ID Rz6zv6KNiFs5KL37DzdttrZ8
                                                         Date: ____________________




                Shawn Burnside
Print Name: _________________________________




                                                                               ID Rz6zv6KNiFs5KL37DzdttrZ8
